  Case: 0:17-cv-00126-HRW Doc #: 14 Filed: 04/20/18 Page: 1 of 2 - Page ID#: 82


                                                                                   Summons Division
                                                                                        PO BOX 718
Alison Lundergan Grimes
                                        Commonwealth of Kentucky          FRANKFORT, KY 40602-0718
Secretary of State                     Office of the Secretary of State        Phone: (502) 564-3490
                                                                                 Fax: (502) 564-5687




U. S. District Court                                                           Eastern District of Kentucky
Eastern District                                                                     FILED
1405 Greenup Ave.
Ashland, KY 41501
                                                                                     APR 2 0 2018
                                                                                       AT ASHLAND
                                                                                     ROBERT R. CARR
FROM:                     SUMMONS DIVISION                                       CLERK U.S. DISTRICT COURT
                          SECRETARY OF STATE

RE:                      CASE NO: 0:17-CV-126-HRW

DEFENDANT: DELLA M. WILLIAMS
           A/KIA DELLA LULL

DATE:                    April 16, 2018




The Office of the Secretary of State was served with a summons and accompanying
documents for the captioned defendant on

March 20, 2018

This office served the defendant by sending a copy of the summons and accompanying
documents via certified mail, return receipt requested, on

March 20, 2018

We are enclosing the undelivered letter bearing the postal mark:

Attempted Not Known/Unable to Forward




Kentucky Secretary of State's Office            Summons Division                           4/16/2018
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